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           9
                                   UNITED STATES DISTRICT COURT
          10
                                  CENTRAL DISTRICT OF CALIFORNIA
          11
                                           WESTERN DIVISION
          12
               A.T., a minor, individually and on behalf Case No. 2:22-cv-1761-SPG-JPR
          13   of all others similarly situated,
                                                         STIPULATION TO EXTEND TIME
          14                      Plaintiff,             FOR DEFENDANTS TO RESPOND
                                                         TO FIRST AMENDED COMPLAINT
          15         v.
          16   COGNOSPHERE, LLC and MIHOYO             Judge: Hon. Sherilyn Peace Garnett
               CO., LTD.,
          17                                           Date Filed: March 16, 2022
                                Defendants.
          18                                           Trial Date: Not set yet
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               STIPULATION TO EXTEND TIME FOR DEFENDANTS TO RESPOND TO FIRST AMENDED COMPLAINT
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           1      STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
           2         Pursuant to Federal Rules of Civil Procedure 6(b)(1) and Local Rules 7-1 and
           3   8-3, the parties, Plaintiff A.T., a minor (“Plaintiff”) and Defendant Cognosphere,
           4   LLC (“Cognosphere US”), by and through their attorneys, hereby stipulate and
           5   agree as follows:
           6         WHEREAS on March 16, 2022, Plaintiff filed their Class Action Complaint
           7   against Cognosphere US and miHoYo Co. Ltd. (collectively, “Defendants”);
           8         WHEREAS on April 6, 2022, Plaintiff filed their First Amended Complaint
           9   against Defendants;
          10         WHEREAS on May 6, 2022, the Court granted the parties’ joint stipulation
          11   to extend, by 60 days, Cognosphere US’s deadline to answer or otherwise respond
          12   to the First Amended Complaint;
          13         WHEREAS the current deadline for Cognosphere US to respond to the First
          14   Amended Complaint is July 5, 2022;
          15         WHEREAS counsel for Cognosphere US has informed Plaintiff’s counsel
          16   that neither Cognosphere US nor miHoYo Co. Ltd. are appropriate defendants in
          17   this matter because neither have ever published or operated Genshin Impact, the
          18   video game that is the subject of Plaintiff’s claims;
          19         WHEREAS counsel for the parties are working towards an agreement to
          20   potentially dismiss Cognosphere US and miHoYo Co. Ltd. as defendants and to
          21   amend the First Amended Complaint to substitute in a new defendant;
          22         WHEREAS, given these negotiations, Cognosphere US desires additional
          23   time to prepare and file its responsive pleading;
          24         WHEREAS Plaintiff has agreed to a 13-day extension of Cognosphere US’s
          25   deadline to respond to the First Amended Complaint;
          26         WHEREAS, the requested extension would not affect any other scheduled
          27   dates in connection with the above-captioned action;
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               STIPULATION TO EXTEND TIME FOR DEFENDANTS TO RESPOND TO FIRST AMENDED COMPLAINT
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           1         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
           2   and between the undersigned parties through their respective counsel pursuant to
           3   Local Rule 8-3, and subject to the approval of the Court, that Cognosphere US’s
           4   deadline to answer or otherwise respond to the First Amended Complaint is
           5   extended by 13 days, up to and including July 18, 2022.
           6

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           8   Dated: July 1, 2022                   BURSOR & FISHER, P.A.
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          10
                                                By: /s/ L. Timothy Fisher
          11                                        L. TIMOTHY FISHER
          12                                         Attorneys for Plaintiff
                                                     A.T., a minor, individually and on behalf
          13                                         of all others similarly situated
          14
               Dated: July 1, 2022                   KEKER, VAN NEST & PETERS LLP
          15

          16
                                                By: /s/ Michelle Ybarra
          17                                        AJAY S. KRISHNAN
                                                    MICHELLE YBARRA
          18                                        CHRISTOPHER S. SUN
          19                                         Attorneys for Defendant
                                                     COGNOSPHERE, LLC
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               STIPULATION TO EXTEND TIME FOR DEFENDANTS TO RESPOND TO FIRST AMENDED COMPLAINT
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           1                                      ATTESTATION
           2         Pursuant to Local Rule 5-4.3.4, undersigned counsel for Cognosphere attests
           3   that all other signatories to this stipulation concur in the filing’s contents and
           4   authorize the filing.
           5

           6   Dated: July 1, 2022                      KEKER, VAN NEST & PETERS LLP
           7

           8
                                                  By: /s/ Michelle Ybarra
           9                                          AJAY S. KRISHNAN
                                                      MICHELLE YBARRA
          10                                          CHRISTOPHER S. SUN

          11                                            Attorneys for Defendant
                                                        COGNOSPHERE, LLC
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               STIPULATION TO EXTEND TIME FOR DEFENDANTS TO RESPOND TO FIRST AMENDED COMPLAINT
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